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      1                        UNITED STATES DISTRICT COURT

      2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

      3               HONORABLE GEORGE H. WU, U.S. DISTRICT JUDGE

      4

      5   CHERIE DIAZ,

      6                        Plaintiff,

      7         vs.                                     Case No. CV 21-8571-GW

      8   ONE TECHNOLOGIES, LLC, et al,

      9                     Defendants.
          _______________________________________/
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     12                         REPORTER'S TRANSCRIPT OF
                                    MOTION TO DISMISS
     13                         THURSDAY, JANUARY 20, 2022
                                        8:30 A.M.
     14                          LOS ANGELES, CALIFORNIA

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     21        ________________________________________________________

     22                   TERRI A. HOURIGAN, CSR NO. 3838, CCRR
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     25




                               UNITED STATES DISTRICT COURT
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      1                           APPEARANCES OF COUNSEL:

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      1           LOS ANGELES, CALIFORNIA; THURSDAY, JANUARY 20, 2022

      2                                    8:30 A.M.

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      5                THE COURT:    Let me call the matter of Diaz versus

      6   One Technologies.

      7                   For the plaintiff, we have?

      8                MR. JUNG:    Good morning, Your Honor.     Daniel Jung

      9   for Cherie Diaz, Your Honor.

     10                THE COURT:    For the defense?

     11                MR. ROTHMAN:    Ari Rothman on behalf of One

     12   Technologies.

     13                THE COURT:    We are here for a motion to dismiss for

     14   lack of personal jurisdiction.        I issued a tentative on this.

     15   I presume both sides have seen it?

     16                MR. JUNG:    Yes.

     17                MR. ROTHMAN:    Yes.

     18                THE COURT:    Does somebody want to argue something?

     19                MR. JUNG:    Yes, Your Honor.    Good morning, first of

     20   all, I did want to get some clarification.

     21                   I wanted to discuss the case of Snowney.        There

     22   seems to be some confusion regarding the two elements for

     23   specific jurisdiction.      There is actually technically three

     24   elements, but the third element is not really being argued so

     25   much.




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      1                   The first element is whether or not there is

      2   purposeful availment, and the second element is whether or not

      3   there is some sort of a relationship between the purposeful

      4   availment towards the cause of action, and I do want to

      5   emphasize "related."

      6                   Now under Snowney, Your Honor, this is where I'm

      7   a little bit confused.

      8                   Under Snowney, I wanted to go ahead and emphasize

      9   that the offending or infringing act was a telephone call, or

     10   there was a surcharge not stated as to the final price.          This

     11   was a violation of unfair fraudulent business practice.

     12                   For the first prong in Snowney, they found there

     13   was purposeful availment based off of the website.          There was

     14   no facts that the person -- that the plaintiff had seen the

     15   website, knew about the website, or interacted with the website

     16   in any way.

     17                   But purposeful availment in Snowney was found

     18   based off just that website.

     19                   Now regarding Thurston, Your Honor, also,

     20   Thurston had two facts for purposeful availment.

     21                   The first was the interactivity of the website,

     22   and the second one they had nationwide advertising.

     23                   Now, because the website and the nationwide

     24   advertising was open to California residents, the Court then

     25   fell back on an additional set of facts and that was whether or




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      1   not a substantial amount of business was done in California in

      2   terms of sales as well as percentage of sales.

      3                   Our values way exceed those of Thurston, so we --

      4   on my end, I clearly see that the first prong of purposeful

      5   availment is clearly seen.

      6                   Additionally, in Ford, Your Honor, under the new

      7   case of Ford where the car was manufactured -- this was a

      8   products liability case.      Your Honor, this is where the car was

      9   bought and manufactured in a different state than where they

     10   were suing upon, and they looked at what?        They looked at,

     11   well, what was going on in the state that they were suing in.

     12   Was there a lot of sales?      Was there service agreements?      And

     13   absolutely there were.

     14                   If you fall back on Thurston, Thurston said if

     15   you have a website, that is interactive enough and it feels

     16   like you are walking into a business, then that is enough to

     17   show that there is purposeful availment on top of substantial

     18   amount of sales.

     19                   So for the first prong, to me, there is no way

     20   around it.

     21                   Now, for the second prong, Your Honor, which is a

     22   little bit more interesting, is that you do need to show it

     23   relates to the cause of action.       Well then, you have got to

     24   fall back on Snowney.      How did Snowney relate the telephone

     25   call to the website?




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      1                   Well, they said they are both types of

      2   advertisements -- they specifically said they are both types of

      3   advertisements that support the business of someone staying at

      4   that hotel.

      5                   What about Thurston?     How did Thurston go ahead

      6   and create an agreement between the nationwide advertising as

      7   well as interactive website?       They said it was obvious, because

      8   they are a website business just like our case.         It's a website

      9   business.

     10                   Additionally, under Ford, how did they find the

     11   third prong?    They found the third prong by looking at whether

     12   or not there were services rendered in that state as well as

     13   whether or not there is a lot of advertising in that state.

     14                   And if you fall back on Thurston, Thurston

     15   specifically said when they looked at the nationwide

     16   advertising, how can you possibly say that you do not know that

     17   you're advertising in California when you have $333,000 during

     18   the $35,000 of sales in the state of California.         You know that

     19   the advertising is reaching there if it's nationwide.

     20                   Additionally, with our case, we're not talking

     21   about 330 -- 320- to $375,000 a year, we're talking about

     22   16.6 million where they have 144,000 Californians that are

     23   members -- members of a service.       They are not buying product,

     24   this is a continuing relationship.

     25                   So the first prong and the second prong are




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      1   obviously meant in that regard.

      2                   Now if they want to make the argument, and this

      3   is a very important distinction as well, because the Court is

      4   relying on Zoobuh.

      5                   There is a difference when you are looking at

      6   agency and independent contractor and vicarious liability,

      7   there is a difference between not having any control and in

      8   Zoobu you are talking about people that sold lists of e-mails.

      9   They have zero control over what the person that hires the

     10   marketing agency decides to do with that list as well as who

     11   they send it to.

     12                   This is very different in terms of when you have

     13   a business hiring a third-party independent marketing agency

     14   that then gives them -- delegates the duty to be able to send

     15   that to any additional state as well as the content of that.

     16                   And on its face, when you are doing an

     17   advertisement, Your Honor, on its face, you are delegating that

     18   that advertisement is going to be correct, because under the

     19   case of Statens versus Yamaha, Culver versus -- which is a 1981

     20   Oklahoma case, the manifestation may be made directly to a

     21   third person or to a committee by signs or advertising.

     22                   But a parent authority exists only to the stuff

     23   that is reasonable for the third person dealing with agents who

     24   believe that the agent is authorized to do so.

     25                   When you are looking at an advertisement by a




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      1   third-party marketing agency, whether it's a coupon code, the

      2   price of a bag, you believe that that is and that was meant to

      3   be sent by the person that went ahead and hired that agency to

      4   send it to.

      5                    They are delegating that duty.      Them saying they

      6   don't have control of the e-mails is not correct because they

      7   delegated that duty to a marketing agency.

      8                 THE COURT:   Well, let me hear a response from the

      9   defense.

     10                 MR. ROTHMAN:   Thank you, Your Honor.     Taking the

     11   arguments in turn, we believe that the Court properly applied

     12   Snowney, Thurston, Ford and Zoobu.

     13                    As to Snowney, the issue in that case was whether

     14   or not disclosures on the website gave rise to cause of action

     15   with persons in California with whom the defendant had an

     16   established business relationship.       The website was the issue

     17   in that case.

     18                    In Thurston, that is an ADA case, whether or not

     19   the website was accessible there.       The plaintiff there had to

     20   make the website at issue because it was the website that was

     21   the central -- or gave rise to the central claim in the case.

     22                    This case, as the Court noted and as we have

     23   noted in this case in Durward, doesn't have anything to do with

     24   any website.

     25                    Plaintiff never went to a website, plaintiff




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      1   doesn't allege that she went to any website.         There is no

      2   website conduct that could possibly give rise to any aspect of

      3   plaintiff's cause of action.

      4                    Her cause of action relates solely to the receipt

      5   of e-mails that she claims violates California Business and

      6   Professions Code 1729.5, so Snowney and Thurston don't apply.

      7                    Likewise, in Ford, and we have noted that as

      8   well, Ford doesn't change the analysis.

      9                    Ford, on the one hand says that Ford didn't

     10   contest purposeful availment, so the Supreme Court didn't

     11   address purposeful availment in that case, and in terms of the

     12   activities and the cars that gave rise to the cause of action

     13   that the plaintiffs allege there, those were in the foreign

     14   state as well.     It just doesn't apply.

     15                    In terms of the sales information, both -- so

     16   what the plaintiff did in this case, is swept in the sales

     17   information from Durward and what Durward found -- what this

     18   Court found in Durward, and what we argued there and still

     19   remains true, that the percentage of sales that the company

     20   derived from California residents is less than the percentage

     21   of Californians overall in the United States population.

     22                    So, on that basis, if we were specifically

     23   targeting Californians, you would expect the sales to be at

     24   least as much as the US population, and here, it's less.

     25                    So the sales information now, it doesn't matter,




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       1   you have to look at the percentages which we provided, and of

       2   course, plaintiff didn't engage the company in any sale or any

       3   transaction, so the sales information isn't even relevant.           If

       4   it were, it wouldn't show purposeful availment or direction

       5   into California.

       6                    In terms of Zoobu, we continue to believe that

       7   the Court properly cited that case and that we properly

       8   characterized it.

       9                    The Zoobu Court's analysis turns on its finding

      10   that the defendant had no involvement with or control over the

      11   origination, approval, or delivery of the e-mails as it does

      12   not -- and this is a quote from the case:        Throughout the

      13   content of the e-mail sent by the publishers review or approve

      14   them nowhere, open paren, i.e. the location or recipient, close

      15   paren, the publishers sending e-mails or decide the customers

      16   to whom the publishers should send the e-mails.         That is on

      17   page 5 of the decision.

      18                    And we have submitted a declaration, both in this

      19   case and in Durward establishing those same facts.

      20                    So from our perspective if we are going to look

      21   at agency, the things that matter are the things that the

      22   Courts find in cases involving transmission, alleged

      23   transmission of unlawful e-mails, and that involves where the

      24   e-mails go, who they are supposed to go to, and actually

      25   drafting them.    We don't have any control over that, and that




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       1   it is unrefuted.

       2                THE COURT:   All right.    Anything else from either

       3   side?

       4                MR. JUNG:    Again, Your Honor.    He just stated that

       5   the issuance in Snowney was the website.        That is patently

       6   incorrect.

       7                   The issue of Snowney was a telephone call

       8   regarding a surcharge.     That is patently 100 percent incorrect.

       9                   The website was not an issue of the case, the

      10   only reason the website was an issue in the case is because

      11   under the first prong, you don't look at the cause of action,

      12   you look at the totality of the circumstances.         You look to see

      13   if it's reasonable whether or not a person is going to be

      14   believed that they are going to be caught into the case, so

      15   that is patently incorrect.

      16                   Additionally, Zoobu, yeah, they didn't have

      17   control because there were three defendants in Zoobu.          The

      18   three defendants in Zoobu were the people that hired the

      19   marketing agency to send the e-mails, the marketing agency that

      20   sent the e-mails, and then Zoobu had an additional defendant

      21   which Zoobu was based off of, which was the person that sold

      22   the list.

      23                   Of course, the person that sells the list of

      24   e-mails doesn't have control what you are going to do with the

      25   list.   That is commonsense.




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       1                    What about those other two defendants in Zoobu

       2   that didn't join in?     Why didn't they join in as defendants,

       3   and say well, we don't have any jurisdiction.

       4                    What about the person that hired the marketing

       5   agency that sent the e-mails, which is who they are.

       6                    One Technology is a person hiring the marketing

       7   agency.   It's completely --

       8               THE COURT:    Let me stop both sides.      I understand

       9   the position of both sides.      I will think about it a little bit

      10   more and see if it has caused me to change my tentative.

      11                    I think I understand the position of both sides.

      12   Anything else?

      13               MR. JUNG:    Yes, Your Honor, a couple of other

      14   things.

      15                    This Court did refer to Durward and we would like

      16   the Court to also look at William Silverstein that is exactly

      17   on point.

      18                    Additionally, we would also like the Court to

      19   look at West Core versus Superior Court of Appeals of

      20   California --

      21               THE COURT:    Let me stop you.     I have looked at all

      22   of the cases that you have submitted.

      23                    Are you submitting new cases?

      24               MR. JUNG:    Well, Your Honor, the reason I'm

      25   submitting this case is based off of the comment made by --




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       1   regarding whether or not -- you know, there was a comment made

       2   at the previous hearing by someone that said, well, what's the

       3   big deal, you can just file it in the Texas Courts.

       4                   West Core versus Superior Court goes completely

       5   against that.

       6                   When this Court finds there is actual -- this

       7   Court found that there is actual damages in this case, even

       8   though we claim there was no actual damages in this case.          They

       9   said that the legislation was so powerful that actual damages

      10   must be imputed.

      11                   Now, we're making this -- we're making the

      12   argument of you know what, you know what -- but you can file it

      13   in Texas.

      14                   In the Court case in West Core versus Superior

      15   Court, they specifically say otherwise, let me quote:

      16   Otherwise, those businesses that can conduct extensive

      17   commercial activity in other jurisdiction primarily by

      18   telephone or through mails would tend to be immunized from

      19   suits from whom they do business and any but their home

      20   jurisdiction.

      21                   The Court specifically stated no, when they are

      22   conducting business in our state -- and additionally, I would

      23   like to ask counsel, well, if you are going to go based off of

      24   percentages, what were the percentages in Thurston, because the

      25   percentage was 8 percent.      Our amount of business was 10 to




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       1   11 percent.

       2                    So if they are going to say, well, our business

       3   for Thurston was only -- you know if we have to go based off

       4   percentages, well, Thurston was 8 percent.

       5                 THE COURT:   All right.   Anything else from either

       6   side?

       7                 MR. ROTHMAN:   Just briefly, Your Honor.     If the

       8   Court is going to go back and look at this, I would just point

       9   out that Snowney at pages 1064 and 1065, that's where the

      10   discussion resides around the existence of the website failing

      11   to provide adequate disclosures that were the subject of the

      12   lawsuit, so that case involves the lawsuit.

      13                    And our second position is -- I'm not sure I

      14   followed the logic or the citations in the cases that were just

      15   identified, but the on-point authorities are the ones that we

      16   cited and that the Court has identified in the ruling involving

      17   the transmission of e-mails and other communications, including

      18   what a similar Court found in North Carolina that the Court

      19   cited Powers versus One Technology.

      20                    It's not an undeveloped area of law, it's

      21   becoming pretty uniform, and to go outside of those authorities

      22   based on the ones that are being described now just wouldn't

      23   seem appropriate, in our view.

      24                 MR. JUNG:    Again, Your Honor, the Ford case is not

      25   binding.




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       1                   Additionally, we cited the cases that the Court

       2   ignored that were also not binding, but do have some persuasive

       3   influence on the Court.

       4                   Additionally, Your Honor, in terms of what he's

       5   stating regarding those citations under Snowney, this is what

       6   he did before and this is why it gets confusing.

       7                   He's citing cases after the Court has stated,

       8   even if the website was not enough, they did these additional

       9   things.

      10                   When they are talking about the nexus agreement,

      11   Your Honor, when they are talking about -- not even nexus

      12   because nexus was found to be too stringent, so they went to a

      13   relatedness argument.     They said it is related -- all you need

      14   to show is that it's related to.

      15                   When they talk about related to, they say

      16   advertisements or websites towards the conclusion.         There is a

      17   specific paragraph, and I could read it, because I have it in

      18   my notes if you want me to, Your Honor.

      19               THE COURT:    Let me stop counsel.     I have read the

      20   cases.

      21                   I understand, you know, what your arguments are.

      22   Let me think about it some more, but I understand what you are

      23   arguing, all right?

      24                   Gentlemen, have a nice day.

      25               MR. JUNG:    Thank you, Your Honor.




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       1               MR. ROTHMAN:    Thank you, Your Honor.

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       3                (The proceedings concluded at 10:10 a.m.)

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       1                     CERTIFICATE OF OFFICIAL REPORTER

       2

       3   COUNTY OF LOS ANGELES      )
                                      )
       4   STATE OF CALIFORNIA        )

       5

       6               I, TERRI A. HOURIGAN, Federal Official Realtime

       7   Court Reporter, in and for the United States District Court for

       8   the Central District of California, do hereby certify that

       9   pursuant to Section 753, Title 28, United States Code that the

      10   foregoing is a true and correct transcript of the

      11   stenographically reported proceedings held in the

      12   above-entitled matter and that the transcript page format is in

      13   conformance with the regulations of the judicial conference of

      14   the United States.

      15

      16   Date:   February 25, 2022

      17

      18

      19                                  /s/ TERRI A. HOURIGAN

      20                          TERRI A. HOURIGAN, CSR NO. 3838, RPR, CRR
                                      Federal Official Court Reporter
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